
PER CURIAM.
This matter is before the Court on Petition for Approval of Conditional Guilty Plea for Consent Judgment and Entry of Final Order of Discipline to violations of Disciplinary Rules 1-102(A)(1), (4), &amp; (6), 6-101(A)(3), 7-101(A)(2) and 7-101(A)(3) of the Code of Professional Responsibility and article XI, Rules 11.02(2) and 11.02(3)(a) of the Integration Rule of The Florida Bar. We approve the Petition, and we hereby suspend respondent, Arthur G. Brodsky, from the practice of law for a period of three (3) months effective June 27, 1983, thereby giving respondent thirty (30) days to close out his practice and take the necessary steps to protect his clients. Also, it is ordered that respondent shall not accept any new business.
Costs in the amount of $300.00 are hereby taxed against the respondent.
It is so ordered.
*518ADKINS, Acting C.J., and BOYD, OVERTON, McDonald and EHRLICH, JJ., concur.
